        Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 1 of 19




                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

KIMMIE LANGLEY,                                )
                                               )
       Plaintiff,                              )
                                               )       Case No. 17-cv-4520-CAP-JSA
vs.                                            )
                                               )
ENHANCED RECOVERY                              )
CO et al.,                                     )
                                               )
       Defendants.                             )


    DEFENDANT AT&T SERVICES INC.’S 1 MEMORANDUM IN SUPPORT
        OF ITS MOTION TO DISMISS PURSUANT TO RULE 8 AND
                          RULE 12(b)(6)




1
  “AT&T” is named in the Complaint, but AT&T is a brand name, not a legal entity. AT&T
understands that its collection practices are at issue in the case, and thus answers as if the complaint
were alleged against AT&T Services, Inc., the AT&T entity that contracts with various collection
agencies. AT&T reserves the right to seek an amendment of the claim if a different AT&T entity
should be at issue.


                                                   1
       Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 2 of 19




       Plaintiff Kimmie Langley (“Langley”) amended her Complaint to include

AT&T Services, Inc. (“AT&T”) as a Defendant. However, the Amended Complaint

is a classic “shotgun” complaint, where it is impossible for AT&T to tell what it is

alleged to have done, or even what counts are pled against it. For example, two of

three counts in the case appear to seek relief solely from its co-defendant Enhanced

Recovery Co. (“ERC”), while the third is a claim for attorney’s fees, notwithstanding

the fact that Langley pled no substantive count against AT&T that might entitle it to

such fees. The allegations thus do not suffice to put AT&T on notice as to the claims

against it, do not meet the Twombly standard, and must be dismissed.

                          SUMMARY OF ALLEGATIONS

       Langley alleges that she is the regular user of a cellular telephone number

ending in ‘1063 as well as “potentially other numbers of Plaintiff.” 2 Am. Comp. ¶

15. The substantive allegations of the Amended Complaint almost entirely refer to

the actions of an unnamed “Defendant.” That term is not defined in the Amended

Complaint, but context indicates that Langley intends for it to refer to ERC. For

example, in ¶ 4, Langley alleges that “Defendant, Enhanced Recovery Corporation”

robo-called her more than 250 times, Id. at ¶ 4, and the remaining allegations of the

Amended Complaint purport to detail that robo-calling. The sole reference by name



2
 No indication is provided in the Amended Complaint as to why Langley cannot allege which one
of her own numbers is at issue in this case.


                                             2
      Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 3 of 19




to AT&T in the factual allegations of the Amended Complaint is in ¶ 17, which

alleges that Defendant (again, presumably intending to refer to ERC) called Langley

in an attempt to collect on an AT&T bill.

      The Amended Complaint alleges that beginning on or about January 1, 2014,

Langley received a call from “Defendant” seeking to recover a debt. Id. at ¶ 19. It

further asserts that “immediately upon receipt of the calls” on January 1, 2014,

Langley explained that she felt harassed and demanded that “Defendant” stop calling

her cellular telephone number. Id. at ¶ 21. Langley claims that she subsequently

received more than 200 calls from “Defendant” over some indeterminate time

period. Id. at ¶ 30. Langley alleges that she had subsequent conversations with

“Defendant” in which she demanded that calls stop, but those conversations were

ignored. Id. at ¶¶ 36-37. Langley further claims that each call at issue was made

using an automatic telephone dialing system and that many of the calls were made

using a prerecorded voice. Id. at ¶¶ 31, 33, 34.

      The Amended Complaint contains three counts. The first, arising under the

federal Telephone Consumer Protection Act (“TCPA”) alleges that ERC repeatedly

placed calls to Langley’s telephone number without her consent. Id. at ¶ 58. It seeks

damages and an injunction against ERC, but does not appear to request any relief

against AT&T. Id. at ¶¶ 59-60. Count II arises under the federal Fair Debt Collection

Practices Act (“FDCPA”). Again, this count alleges that ERC violated the act by



                                            3
       Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 4 of 19




placing calls to Langley’s cellular telephone number without her consent, but does

not seek relief from AT&T. Finally, Langley files suit for “bad faith attorneys fees.”

This count, unlike Counts I and II, is alleged against both Defendants. Id. at ¶ 67. It

seeks a recovery of litigation expenses (including attorney’s fees) pursuant to a

Georgia state statute (O.C.G.A. § 13-6-11). The basis for that claim is that

Defendants “have acted in bad faith, been stubbornly litigious or caused the Plaintiff

unnecessary trouble and expense.” Id. at ¶ 70. No facts are pled in support of this

claim, nor does Langley explain how AT&T could have possibly acted in bad faith

regarding conduct it does not appear to have been directly involved in.

                                        STANDARD

      To survive a motion to dismiss for failure to state a claim under Rule 12(b)(6),

a plaintiff must allege “enough facts to state a claim to relief that is plausible on its

face.” Ashcroft v. Iqbal, 556 U.S. 662, 697 (2009) (quoting Bell Atlantic v. Twombly,

550 U.S. 544, 570 (2007). “A plaintiff's obligation to provide the grounds of his

entitle[ment] to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at

555. Thus, “[a] claim has facial plausibility when the pleaded factual content allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556).




                                           4
       Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 5 of 19




      To satisfy the pleading requirements of Rule 8, Langley must allege, inter

alia, “a short and plain statement of the claim showing that the pleader is entitled to

relief” and “a demand for the relief sought, which may include relief in the

alternative or different types of relief.” Fed. R. Civ. P. 8(a).

                                        ARGUMENT

      Langley’s Amended Complaint should be dismissed for a number of reasons.

First, Langley pled no counts against AT&T with the exception of a claim for

attorney’s fees that, in the absence of some underlying claim, is prima facie invalid.

Second, Langley cannot save this deficiency by claiming she meant to include

AT&T in her generic references to a “Defendant” because “shotgun pleadings” that

allege multiple claims against multiple defendants without specifying which claim

is alleged against each defendant are not acceptable forms of pleading in this circuit.

But even beyond these preliminary defects, none of the claims are validly pled as to

AT&T. The TCPA claim is time-barred by the statute of limitations, and, in any

event, Langley pled no facts sufficient to allege that AT&T is vicariously liable for

ERC’s conduct. The FDCPA claim must also be dismissed because there are no facts

alleged that AT&T is a debt collector and the law only applies to debt collectors.

Finally, the claim for attorney’s fees cannot stand on its own, because it is derivative

of the two substantive claims that cannot apply to AT&T and, in any event, there are




                                            5
         Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 6 of 19




no facts alleged that show AT&T engaged in any conduct, much less somehow acted

in bad faith or was stubbornly litigious towards Langley.

   A. Counts I and II Should Be Dismissed Because They Are Not Pled
      Against AT&T.
      Rule 8 requires that a plaintiff include in the complaint “a short and plain

statement of the claim showing [he] is entitled to relief” as well as a “demand for the

relief sought.” Fed. R. Civ. P. 8(a)(2). This “short and plain statement” must be

sufficient to “give the defendant fair notice of what the. . . claim is and the grounds

upon which it rests.” Twombly, 550 U.S. at 555 (internal quotations omitted)

(ellipses in original). Dismissal under Rule 8(a) “is usually reserved for those cases

in which the complaint is so confused, ambiguous, vague, or otherwise unintelligible

that its true substance, if any, is well disguised.” Breedlove–Williams v. Fulton Cty.-

City of Atlanta Land Bank Auth. Inc., 2005 WL 8154418 at *1 (N.D. Ga. Nov. 4,

2005).

      To the extent that Plaintiff intends to assert a claim against AT&T under the

TCPA or FDCPA, the pleading makes that claim very “well disguised.” To the

contrary, Counts I and II do not appear on their face to have been pled against AT&T

at all. Langley specifically alleges that ERC (not AT&T) placed the calls that

underlie her Amended Complaint (Am. Comp. ¶¶ 58, 64) and seeks injunctive relief

only against ERC. Id. at ¶ 60. Any TCPA or FDCPA claim against AT&T must

therefore be dismissed because it fails to meet even the liberal standards required by


                                          6
        Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 7 of 19




Rule 8 by failing to allege a cause of action against AT&T. See Gibson v. U.S Bank

Tr. N.A., 2017 WL 8186820 at * 2 (N.D. Ga. Nov. 30, 2017) (“A complaint should

not consist of vague and conclusory allegations, but must clearly state a cause of

action.”).3

    B. Plaintiff’s “Shotgun” Pleading Is Improper.

       Langley may argue that her failure to name AT&T in Count I and Count II is

permissible because she generically references a “Defendant” throughout the

Amended Complaint, including in those counts. Thus, while one allegation refers to

AT&T by name (Langley’s assertion that “Defendant” was attempting to collect on

an old AT&T bill (Am Comp. ¶ 17)), the bulk of the remaining paragraphs all refer

to the conduct of “Defendant,” a term which Langley does not define. While the

logical reading of the Amended Complaint is that the reference to Defendant is to

ERC, it could conceivably apply to ERC, AT&T or to both Defendants together.

       This is a classic example of “shotgun pleading” which does not comply with

Federal Rules 8 and 10. The Eleventh Circuit has defined “shotgun pleading” as

follows:


               We have identified four rough types or categories of
               shotgun pleadings. The most common type—by a long
               shot— is a complaint containing multiple counts where
               each count adopts the allegations of all preceding counts,

3
  Because Langley has counsel, there is no reason to apply a less stringent standard to the pleading
requirements for her Complaint.


                                                 7
      Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 8 of 19




             causing each successive count to carry all that came before
             and the last count to be a combination of the entire
             complaint. The next most common type, at least as far as
             our published opinions on the subject reflect, is a
             complaint that does not commit the mortal sin of re-
             alleging all preceding counts but is guilty of the venial sin
             of being replete with conclusory, vague, and immaterial
             facts not obviously connected to any particular cause of
             action. The third type of shotgun pleading is one that
             commits the sin of not separating into a different count
             each cause of action or claim for relief. Fourth, and finally,
             there is the relatively rare sin of asserting multiple claims
             against multiple defendants without specifying which of
             the defendants are responsible for which acts or omissions,
             or which of the defendants the claim is brought against.
             The unifying characteristic of all types of shotgun
             pleadings is that they fail to one degree or another, and in
             one way or another, to give the defendants adequate notice
             of the claims against them and the grounds upon which
             each claim rests.
Weiland v. Palm Beach Cty Sheriff’s Office, 792 F.3d 1313, 1321-23 (11th Cir.

2015). “Courts in the Eleventh Circuit have little tolerance for shotgun pleading.”

Vibe Micro v. Shabanets, 878 F.3d 1291, 1295 (11th Cir. 2018). Thus, the simple

fact that a complaint contains shotgun pleading is reason enough to dismiss it and

send the plaintiff back to the drawing board to come up with a complaint that

complies with the rules. Yeyille v. Miami Dade Cty. Pub. Schs., 643 Fed. App’x 882,

885 (11th Cir. 2016) (upholding dismissal by lower court of complaint with

prejudice on grounds that it constituted shotgun pleading).

      If the Amended Complaint can somehow be read to contain any substantive

allegations or causes of actions against AT&T, it would constitute a paradigmatic


                                           8
       Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 9 of 19




example of shotgun pleading. Nearly every allegation is directed against

“Defendant,” not ERC or AT&T. AT&T has no way to tell from the Amended

Complaint if it is being accused of placing calls directly or if Langley’s theory is

instead that it is vicariously liable for calls made by ERC. AT&T cannot answer a

complaint with such vague allegations with any accuracy, much less proceed to

discovery or trial. The Amended Complaint, therefore, must be dismissed until these

deficiencies are corrected and Langley documents what she is accusing AT&T of

doing.4

    C. Each Count Fails To State A Claim Upon Which Relief Can Be
       Granted.
       Even if the Court somehow could ignore Langley’s “shotgun pleading” and

her failure to even allege a substantive count against AT&T, the Amended

Complaint would still fail to state a claim on all three of its alleged counts. The first

count (arising under the TCPA) fails to state a claim because Langley has not alleged

AT&T is vicariously liable for ERC’s actions and because the claims are barred by

the TCPA’s four-year statute of limitations. The second count (arising under the

FDCPA) fails to state a claim because the FDCPA prohibitions apply only to the

actions of debt collectors, and the Amended Complaint contains no allegations that

AT&T is a debt collector. Moreover, that claim is also time-barred. Finally, the claim


4
  The Eleventh Circuit requires a district court to provide a litigant with at least one chance to
remedy deficiencies caused by shotgun pleading. Vibe Micro, 878 F. 3d at 1295.


                                                9
      Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 10 of 19




for attorney’s fees cannot be sustained in the absence of a viable cause of action

against AT&T.

          a. The TCPA Claim Fails To State A Claim Upon Which Relief Can
             Be Granted.
                 i. Langley Does Not Allege AT&T Is Vicariously Liable for
                    ERC’s Conduct.
      The Amended Complaint alleges that ERC placed the telephone calls at issue,

not AT&T itself. Am. Comp. ¶ 58. Thus, the only possible way AT&T could be

liable for ERC’s conduct is under a theory of vicarious liability. It is true that under

the TCPA, a creditor may be held liable for calls made by a debt collector who acts

“on behalf of that creditor.” In re Matter of Rules & Regulations Implementing the

Tel. Consumer Protection Act of 1991, 23 F.C.C. Rcd. 559 at ¶ 10. (2008). However,

the question of whether a collection agency has acted “on behalf of” the creditor is

a question of agency law. Henderson v. U.S. Aid Funds, Inc., 2017 WL 766548, at

*6-7 (S.D. Cal. Feb. 28, 2017). Thus, to state a claim against AT&T, Langley would

need to allege that ERC acted as AT&T’s agent when it placed the calls.

      She has not done so. The only allegation that relates to the relationship

between AT&T and ERC is that ERC attempted to collect on an old AT&T bill. Am.

Comp. ¶ 17. But alleging an agency relationship requires showing more than that,

since agency requires both “(1) consent to the agency by both principal and agent;

and (2) the control of the agent by the principal.” Commodity Futures Trading



                                          10
      Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 11 of 19




Comm’n v. Gibraltar Monetary Corp., 575 F.3d 1180, 1189 (11th Cir. 2009). No

facts have been alleged to meet either of those requirements, and, thus, the Amended

Complaint does not state a claim against AT&T for vicarious liability for the calls

made by ERC.

      Moreover, even if Langley did allege that ERC was AT&T’s agent, she

recently dismissed her claims against ERC with prejudice. Dkt. # 24. To the extent

her claim against AT&T is based on vicarious liability for actions undertaken by

ERC as its agent, that claim is now blocked by res judicata. Citibank N.A. v. Data

Lease Fin. Corp., 904 F. 2d 1498, 1501-04 (11th Cir. 1990).

               ii. The TCPA Claim Is Time-Barred.

      “A statute of limitations defense may be raised on a motion to dismiss for

failure to state a claim for which relief can be granted under Fed. R. Civ.

P. 12(b)(6) when the complaint shows on its face that the limitations period has

run.” AVCO Corp v. Precision Air Part, Inc., 676 F.2d 494, 495 (11th Cir. 1982).

“The TCPA has a four-year statute of limitations that begins when the cause of

action accrues.” Solis v. Citi-Mortgage, 700 Fed. App’x 965, 970 (11th Cir. 2017).

Plaintiff complains of calls and other conduct from January 2014. Am. Comp. ¶¶ 19-

21. But Plaintiff did not amend her original Complaint and add AT&T until May of

2018. Dkt. No. 11. Since more than four years passed between the filing of the




                                        11
         Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 12 of 19




Amended Complaint and the conduct complained of, the statute of limitations

forecloses the claim as to AT&T. 5

         Langley may argue that her claim relates back to the original Complaint, filed

in November 2017, but that argument should be rejected as a matter of law. “An

amended complaint that adds a party or changes the name of a party relates back

when: (1) the amendment arose out of the conduct, transaction, or occurrence set

out—or attempted to be set out—in the original pleading; and (2) within the 120–

day period6 for service provided by Rule (4)(m), the new party received such notice

of the action that it will not be prejudiced in defending on the merits and knew or

should have known that the action would have been brought against it, but for a

mistake concerning the proper party’s identity.” Lindley v. Birmingham, City of

Alabama, 652 Fed. App’x 801, 803-04 (11th Cir. 2016). AT&T concedes that the

amendment arises out of the same transaction or occurrence as the original

Complaint. But the Amended Complaint contains no allegations that indicate AT&T

received notice of the action within the time period set forth by Rule 4 or that AT&T

knew that the original Complaint would have been brought against it but for a




5
  The Complaint does contain the vague allegations that “each call . . . made . . . in the last four
years was made using an ATDS.” Am. Comp. ¶ 31. But the Complaint contains no allegations as
to when any calls may have occurred, other than January 2014, and such conclusory allegations
do not comply with Twombly, 550 U.S. at 555.
6
    Rule 4 has since been amended to allow only 90 days for service. Fed. R. Civ. P. 4(m).


                                                 12
       Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 13 of 19




mistake concerning the proper party’s identity. 7 In the absence of such facts, the

Complaint is time-barred.

           b. The FDCPA Claim Fails To State a Claim Upon Which Relief Can
              Be Granted.
                  i. The FDCPA Cannot Apply To AT&T Because It Is Not a
                     Debt Collector.
       It is difficult to ascertain why Langley claims she is entitled to recovery under

the FDCPA, because her Amended Complaint does not set forth the specific

provision of that law she believes was violated. That alone suffices to dismiss her

claim. In any event, both Section 1692(e) (which addresses false or misleading

representations in collecting debts) and Section 1692(f) (which addresses unfair debt

collection practices) apply only to debt collectors. See 15 U.S.C. 1692(e) (“A debt

collector may not use any false, deceptive, or misleading representation or means in

connection with the collection of any debt”); 15 U.S.C. 1692(f) (“A debt collector

may not use unfair or unconscionable means to collect or attempt to collect any

debt); see also Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d 1211, 1218

(11th Cir. 2012) (“to state a plausible FDCPA claim under § 1692e, a plaintiff must

allege, among other things, (1) that the defendant is a ‘debt collector’; and (2) that

the challenged conduct is related to debt collection.”). A debt collector is defined in



7
  It is difficult to see what that mistake could be, as the original complaint, like the current
complaint, alleges that ERC was attempting to collect an AT&T bill. Dkt. No. 1 at ¶ 16.


                                              13
      Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 14 of 19




the FDCPA as: “any person who uses any instrumentality of interstate commerce or

the mails in any business the principal purpose of which is the collection of any

debts, or who regularly collects or attempts to collect, directly or indirectly, debts

owed or due or asserted to be owed or due another.” 15 U.S.C. § 1692a(6). Excluded

from the definition, however, is “any person collecting or attempting to collect any

debt owed or due or asserted to be owed or due another to the extent such activity .

. . concerns a debt which was originated by such person.” Id. at § 1692(a)(6)(F)(2).

There are no allegations in the Amended Complaint that the principal purpose of

AT&T’s business is to collect debts, thus removing it from the ambit of the statute.

Moreover, the Complaint alleges that the debt collection attempts were made on

Langley’s own AT&T account (Am. Comp. ¶ 17) and thus it would be exempted

from the FDCPA.

      Moreover, the FDCPA contains a one-year statute of limitations. 15 U.S.C.

1692(k)(d) (“An action to enforce any liability created by this subchapter may be

brought in any appropriate United States district court without regard to the amount

in controversy, or in any other court of competent jurisdiction, within one year from

the date on which the violation occurs.”). For all the reasons set forth supra, the

FDCPA claim is thus time-barred as well.

         c. Langley Does Not State a Claim For Which Relief Can Be Granted
            Under O.C.G.A. Section 13-6-11.




                                         14
       Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 15 of 19




       As an initial matter, O.C.G.A. Section 13-6-11 does not provide a right to

recover for litigation expenses when the party seeking recovery does not have a

separate substantive claim. Ellis v. Gallof, 46 S. E2d 288, 289 (1996) (“Although

OCGA § 13-6-11, by its terms, is not limited to prevailing parties, the correct

principle is that plaintiffs must prevail on their basic cause of action in order to obtain

litigation expenses [under OCGA § 13-6-11]”); Lamb v. Salvage Disposal Co. of

Ga., 535 S.E.2d 258, 261 (2000) (“OCGA § 13-6-11 does not create an independent

cause of action but merely permits in certain limited circumstances the recovery of

the expenses of litigation incurred as an additional element of damages.”). Here, as

described above, neither of the two counts in the case are even alleged against AT&T

and, even if they had been pled against AT&T, both counts would be fatally flawed.

That alone is reason to dismiss the claim under Section 13-6-11.

       Moreover, the allegations in the Amended Complaint regarding this count are

wholly conclusory. Plaintiff alleges that the Defendants “have acted in bad faith,

been stubbornly litigious, or cause the Plaintiff unnecessary trouble and expense,”

(Am. Comp. ¶ 70), but provides no details that might explain how AT&T acted in

any of these ways. 8 In fact, Langley does not even allege that she had any sort of

interaction with AT&T itself prior to filing this Amended Complaint. This is exactly



8
  As described supra, Plaintiff cannot save this claim by pointing to the shotgun allegations that
are raised generically against an undefined “Defendant.”


                                               15
      Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 16 of 19




the sort of “formulaic recitation of the elements of a cause of action” that Twombly

expressly found “will not do.” 550 U.S. at 555.

   D. The Discovery Deadlines Should Be Reset

      Prior to service on AT&T in this case, the Court entered a scheduling order

that requires discovery to close on August 6, 2018 and a pretrial order to be filed

within 40 days of the end of discovery. AT&T had no involvement in the entry of

that order. A discovery deadline that closes 3 days after AT&T’s appearance was

due in the case obviously prejudices AT&T (who is the only defendant left in the

case), especially given its pending motion to dismiss and the deficiencies in the

complaint filed against it described above. AT&T thus respectfully requests that all

deadlines (including the discovery deadline and the deadline for submitting a pretrial

order) be continued pending resolution of this dispositive motion.

                                  CONCLUSION

      Counts I, II, and III should be dismissed as to AT&T pursuant to Rule 8 and

Rule 12(b)(6). Furthermore, the deadlines contained in Docket No. 17 should be

entered and continued pending resolution of this dispositive motion.



      RESPECTFULLY SUBMITTED this 3rd day of August, 2018.



                                              /s/ Matthew D. Justus
                                              Matthew D. Justus

                                         16
Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 17 of 19




                                    Georgia Bar No. 354555

                                    675 W. Peachtree St. NW, Suite 4300
                                    Atlanta, GA 30308
                                    Telephone: (404) 927-2903
                                    Facsimile: (404) 927-6041
                                    matthew.justus@att.com

                                    Attorney for Defendant AT&T
                                    Services, Inc.




                               17
      Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 18 of 19




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

KIMMIE LANGLEY,                        )
                                       )
      Plaintiff,                       )
                                       )        Case No. 17-cv-4520-CAP-JSA
vs.                                    )
                                       )
ENHANCED RECOVERY                      )
CO et al.,                             )
                                       )
      Defendants.                      )

      CERTIFICATE OF SERVICE AND TYPE SIZE COMPLIANCE

      I hereby certify that on this date I electronically filed Defendant AT&T

Services, Inc.’s Memorandum in Support of Its Motion to Dismiss Pursuant to Rule

8 and Rule 12(b)(6) with the Clerk of Court using the CM/ECF system, which will

automatically send email notification of such filing to attorneys of record.

      Pursuant to Local Rule 5.1, N.D. Ga., said pleading is prepared in Times

New Roman, 14 point.

      This 3rd day of August, 2018.


                                            Respectfully submitted,


                                            /s/ Matthew D. Justus______
                                            Matthew D. Justus
                                            Georgia Bar No. 354555
                                            675 W. Peachtree St. NW, Suite 4300


                                           18
Case 1:17-cv-04520-CAP Document 26-1 Filed 08/03/18 Page 19 of 19




                                 Atlanta, GA 30308
                                 Telephone: (404) 927-2903
                                 Facsimile: (404) 927-6041
                                 matthew.justus@att.com

                                 Attorney for Defendant AT&T Services,
                                 Inc.




                               19
